950 F.2d 797
    292 U.S.App.D.C. 388
    NOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.Earlene Lofton BURT, Appellantv.Ronald W. ROSKENS, et al.
    No. 90-5236.
    United States Court of Appeals, District of Columbia Circuit.
    Dec. 6, 1991.Reconsideration En Banc Denied Jan. 28, 1992.
    
      Before HARRY T. EDWARDS, SILBERMAN and STEPHEN F. WILLIAMS, Circuit Judges.
      ORDER
      PER CURIAM.
    
    
      1
      Upon consideration of the motion for summary affirmance and the opposition thereto, it is
    
    
      2
      ORDERED that the motion be granted substantially for the reasons stated by the district court in its memorandum of opinion filed May 30, 1990.   The merits of the parties' positions are so clear as to justify summary action.   See Taxpayers Watchdog, Inc. v. Stanley, 819 F.2d 294, 297 (D.C.Cir.1987) (per curiam);   Walker v. Washington, 627 F.2d 541, 545 (D.C.Cir.)  (per curiam), cert. denied, 449 U.S. 994 (1980).
    
    
      3
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely petition for rehearing.   See D.C.Cir. Rule 15.
    
    